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ANVdIO9 OOOVEOL SAIONASY f'U

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“AG QALLIWENS

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VE66L ‘GS Bb Wddv ©
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‘ssaumfun sof pappuots ay} puv food
fo wuaping ay) Suuayy (yvaissuup yoy uavj2 534} 2dosd jouuvs {fors ays yout Tupjadwuor st aduapiaa ayy

,08 OP pynom Au} yeu} }S]s OY] PesBesoU;
AjyuesyjuBys 20 Bujyows. ujGeq, 0} 91 j0 68 ey; Jepun sjusosajope pus USIP}}Yo ,PeoNpu},
uBjedweg ou; yeu; BujGerye Aq uojesnes peed o; sydwepye juyeydinos pesjnes 2 ‘MON e

jeodde pues sees ojeuoniodoidery | uo onesea yuyerduioo B peyyelo FMS ety

"aYOUsS OF UOTSIIap ay) pun Supsyssapy uaaasag yuy v fo z2uapiaa pasaffo
sajajup ayy) fo auou “ayung ‘sajotup yyy f ayi fo yova panpasosip ApySnosoy) soins sayjo pun sppoukay

‘Aunjuy jo se}100U} mou Buyeyo
Sepoj4e VINVP 9014} UO pesegq uoeBRSeAUy 8}]] PeMeUGe! B}S eu] ‘LEG1 Jeqweseg u| e

‘Suyassvy fo aauapiaa ou pajvadas syuawnsop .spjouday fo matdas aaysnvyxs uy

"UsIp|]YyS poyebse; Ajeyeseqyep Yry JeyjEYyM pezebiseau] eys ely ‘OGEE Ul
:peiojdxe ueeq eaey Ainfu; yenjoe 10) seyeBouns snojiea

‘uBjedweg
jowse:) eor ayy Aq pasneo Aunful Aue eyesjsuoWep youUed IIs WEIS eUy ‘Bulyosees Jo siBed INO} JAY
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(Spio 2e9, gb) II SdVL EE} “YSIIN JO “ALUF
skeq 0€ 3S] Ul a}}04e61D
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C66L-686) Gulyows Joy syulog abeyuaosag ul abueyn
686} souls Bulyows ul eseas09q e feansy
ejeq |] sdey oy} ‘Apnyg ueBryor yo Ajisuaarup ay} ey!UN

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"suojues jooyos YByjy ele WOYM Jo ewos ‘spjo
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‘ueBeq uBjedwey oy) Joye Bujyows ebesepun u! esvesou! UB eq pjnoys
eleu) ‘WUMMIUT @ Je ‘ewows o1 uinoA eBesepun Buionoui 10 Buisneo si uBledwen au 1

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‘S1@yOUWSs eBeuee, Aq peyouws sAgp jo sequinu eGeleae eu Ul ‘sejdwes {| Sd¥L EGGL euy
pue® | SdVL 686} eu) Ueemjeqg JO ‘spuBlq UseMjeq sedUEeJey|p jnJHujuBewW OU e1B e1EUL

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Case 1:99-cv-02496-PLF-MAU Document 3165-9 Filed 05/04/04 Page 9 of 28

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pue |jeweg ueemjeq seoualayiq (‘spjo ieeA 77-9) ele ejdwes MalAIa{UIe! 1] SdV¥L
ou} U] S}uUepUOdseA! ysepjo ey}) ‘(spjo seed zz-g1) sieyYOWS OJOqUeW yNpe Bunod ele
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ueBy} s}4yB;7 jawey eyows 0} Ajey!; esow Ajjueoysub}s ese sieyows jewes eberepun

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-83})N JO ‘8}4B]) ‘suBjnBes eiem peyours Ao} pussg oy} JeyjOUM syuepUodse: poxXse |] SdVL
‘pueiq yore Joy ‘suNOA eBbesepun Aq peyows seyeieb)o Jo UHuels ey, peulwexe ||
SdV1L ‘suee} Aq pexyows sjonpoid jo edAy eu; s] Aysueyu; Bupyows jo einseeuw seyujoUuY
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"uo|jdlunsuos syeleBjo ebeues; uo Bujsfpeape jo syoeye ou ese
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yuBnoyye ‘Hujsjeape eiow 0} pesodxe eso Joj peseoloep Aep sed pexyouls seyesebyo
jo uequinu ey, ‘“Bujsyueape Buyeuyunje yo syoeye pe,ejnojeo ey, SMOYS eyo eyL

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eyeseBjo uy eduele)]P OU Ss] B1EeY4] Jey S[seuJOdAY ey}, YYM JUE}S}[SUOD Osje ole ByEp
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ueAes Sed BY} Ul peyows eABY OYM Suse} Aq Agp ied peyows seyese6)]9 Jo Jequunu sy} jo
SJUBU|WJBJep oy} yo sisAjeue UOjssei6e1 UO paseq enss| AjjsuezU] OY} 8 SHOO] PEYS Spy)
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“BIGELIVA jepuedep ey} se sheep o¢ ysed eu) uy Gupjows
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"JUO}S]SUCD JOU Ss] ‘JEAEMOY “OSS
eaneBeu @ sey Yd|UM pus eye eanjsod e sey puBlq YyoyA, ‘Buyyows jo Ayyjqeqoid
peyBWjse sy} seonpes spuBeiq OM} Sssey} jo euo Aq seimipuedxe Buyseape ‘esvo
Areao uy “Bupyows ynoqe suojsjoep ,suee) eoueNnjuy A}jUBd]);UB}s you Op ‘sues} B/UIOW/eD
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‘uo}s}oep Buyyows ey} pesuenyu] ‘ejnopied uy Buysqpeape jowes Jo ‘jBs9ueb
u| Bujsiaape yey} esuepy~e Aus e204} Sem sinseeuw Bujsjeape Aus JoJ eseo ou U]

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*Bujsjeape 0} einsodxe ou pues ‘Wwyy punose sseyOWs OU pUue ‘Hupyows
DIEMO}] SEpPNiYyB eAEHoeu Ajws0jjUN YY JUEPUOdSel B O} BANL/O1 PesNSeEU! 8] 10}9e} YOR]
‘BuyyOWS Le}S 0} SUee} EOUOEN|JU] JBY} SJOJOR) EY} paljUEP| Se}zeeg Jossejoig ‘Bujyows
ues} JO SJUBUWUEJEp Ey] eUu;Wexe O} ByEp yUSUIUIEAOCH jo sesAjeue uocjssesBes Bujsp

‘eyOWS 0} s1eGeUse] Sesneo Bujsjeape jBy] eOUEP]AS OU Ss}
eeu, "}UsWaINpPU] jo UONeBere s}} Woddns 0}; eoUEpjAs OU PeJayo Sey jje}S OU) ‘eJEp OL
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‘ayolus sayjo fo suoisiaap ays sof unys SIayous Jauco7 fo suoisioap ay) sof junodz0 T3Y3q
pyno2 ssojzf{ YSU uMOUY ay) toy punof ayy ‘Suisyaapn fo aauanyfur dun SuuoUs ‘Usmdung ays saify paunys
om Suzyous jaums fo suoisioap sutyous ayi sof juNOIIn Oj patprus ay SiOJI0{ ySU ay) fo Aupiqe ay) paujumyre
sappag 4ossaforg ‘so1apyaq nays sof Suyunozzu fo qol pog Aaniypjas v Op prnoys aouaryful uo Yyons saiousy
roy sisktoup up Jauw sor dq pasuanyin duppnoiued aiam usipdusy7) ay) aouis paywis OM Siayotus jaumws {7

"BusSpseape euy jo eouenyu] ely OF ejqudeosns Ajenbyun
moyouos ajem uUBjedwes ey] eouls Bupjours peqyeys pey oy ssoyoOUWs joWeD ‘wspAUD °

wayous
juaun? D SOM uaa} D aayjaym UO Jaffa OU poy suisiueapy joys sisayjoddy ays Yim JuatsIsuoD alam DOP ay)
(pauiquioz sajdudps om) att s0f sv jJam sv ‘usioduryD ays saifo payours jsiif oym Suaal sof ‘UuBrodum ays asofaq
powows iif oym Suaas s0f "FT) sasnsvaus Suistaapo fo jas ATIAd sof ‘asva ATAS ut joy) punof sarpag ‘“aaamoy
jonf{ uy wp8aq usiodurm ay) saifo payouts jsnf oy Sura) fo ajducps ays ut dn moys pynoys ft ‘udiodua ays
Jaifo paffa pouuasaffip p soy Buisuaapo fy uS3iodumws ayy saifp payouis jsf oym asoys wouf uv8aq uwindumD
ayj asofaq ajiamsio jsaf nati payouls oym suaaj asoys pawsndas sajvag sossaforg ‘Anpiqissod siyf 1sa} OF

-uBsedwes ey eye Gupyows peqyeys oym suse, Buowe
payajep eq Ajuo pjnoo sucisjsep Supyows uo Suyspieaps jo eousnyy] eyL “wspPRAUD °

‘pouad sak sauy) 34} saa0 suo Isap Bupyouis aBpuaay uo aouanyfis
fuooifiudis dim poy saaniipuadra Suistuaapy fo amsvaw on “paSuvyoun asam syinisas ay) ‘usrdutnD jauwD aor
anjua ays Sussodwuosua ‘pouad mak aasys 0 1909 Oo} sammsvau Suistuadpy ay) papuana Sarpag sossefosg ual

‘uBjedureD ey jo eoUENyU] ELA ;eeAeI OF PLOUS 00] eA JO poyed B pesaAco JBeA B OY
SUjuOW x}s8 snolaeid ey] JoAO Saunypuedxe Huspseape jo osn ,Sejeeg JOSSejOJY “WS]ORUD °

‘SWS]OI9 peowsd-1]} sjyeys EY} JO Youve
Dejnjes Ajinjsseoons sey spjouAey ‘“sjsAjeue ,sejeeg sossejosg UO yoRye Guoid-yynw e peyouney }
pee}suj os ‘suoisioep Bujjows ebeues}; seouenyu Bulspreape yeu} OAOsd 0} B]qeuUN UAE Sey jjB}S OY]
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‘yueIsUBISs Ajjeoysiyeys
}OU SI }NSe7 ay} YBnoyye Buryous jo aouaepsour ay} Bonpesl oO} Ss} Buls|peape jaweg
jo joeduy ay} ‘sny, ‘Buiyows jo pooyleaxt Poonpes © YIM poje|oosse s| ‘IaAaMoYy
‘Vyaueq Jey, ‘“suoienys jel90s ul sdjay Buryows yey} uojdaosed ay) si Hulsjaape
jawey SOU! O} Pasodxs suaea} JO} BSPaIDU] UB SMOYUS }eY) BINSeoW JyaUEed AjuO ay]

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OM) SSUIQWOD PeYyo ayy “‘Bulyows jo s}Jyaueq paajeoied ayy Buiseasou Aq Bulyows
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jo jyoaueq e aAjadiad |JIM SU38} POOYYay!] BY) BOUEN|pU! JEU} SuOJOes By} BUulleXs
0} ‘alWll} B ye sunseaw jyauaq auo BuzAyeue ‘ajdwes ejusopyeg 943 Ul Japolw sajeag
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‘ajqeyjeae Ajjpes. Ss) pueig JaAayeyM ayows Ajsiaw yng ‘sjawieDy ayows
0} BSOOYS jou op Aauy ‘AjGuipsoooy ‘sBurqis 10 sjuased ‘spuejjj wool) sayese6j0 ule}qo
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ssa(piebes ayows [IM SUaa} “a'| ‘| paulWwajep-aid, s| Gupyows yey} UoNoU eyy UO BulAja.
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eu} ye Used Sey 9/eYUS JoyaBW SjaWeD JO YMOIG ayy yeu} PaUlejUseU Sey spjouday
Case 1:99-cv-02496-PLF-MAU Document 3165-9 Filed 05/04/04 Page 21 of 28

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ysow at} Jey Aq — 4] Sdv¥L UA JUAa}SIsUuOoU Ss] ‘sees Ajjuesedde yeys ay) YoyM Uodn
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jawey eor ey Jo uRHojS ey} se JE}OBIBYD YJOoWS, peyjUep! juepucdse ou AjenylA

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‘LL - OL see ejdoed Bunod 711‘, Buowe sseueieme jo soounos pue ‘syonpoid snopea
SPIBMO} SOPNYE ‘voOpEdjuSp] yonpoid ‘uopyjuboIes OBo; peinseew Apnys sedoy ey,
TEENS WHO ASSOCIATE JOE CAMEL WITH CIGARETTES
HAVE UNIFORMLY NEGATIVE VIEWS OF SMOKING

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“‘POOUs]9>]] B JO POOU!}E%]]
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